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 5 GENOVEVO GARCIA
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11                                   ) Case No: 15-CV-04547 DDP (ASx)
     GENOVEVO GARCIA,                )
12                                   )
               Plaintiff,            )
13                                   ) REQUEST FOR DISMISSAL
                                     )
14        vs.                        )
                                     )
15                                   )
     GLENDALE NISSAN/INFINITI, INC., )
16   and DOES 1-10, inclusive,       )
                                     )
17                                   )
               Defendants.           )
18                                   )
                                     )
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Case 2:15-cv-04547-DDP-AS Document 10 Filed 02/01/16 Page 2 of 2 Page ID #:23



 1         Plaintiff Genovevo Garcia hereby informs the court that the case has settled,
 2   and requests that the entire case be dismissed with prejudice.
 3
 4
     Dated: February 1, 2016                  Respectfully Submitted,
 5
                                              TRUEBLOOD LAW FIRM
 6
 7
 8                                            By:   ________/s/____________________
                                                    Alexander B. Trueblood
 9
                                              Attorneys for Plaintiff
10                                            GENOVEVO GARCIA
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